                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:02CR242-2


                                                 )
UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )          ORDER
                                                 )
ANTONIO FERNANDEZ GARCIA (2)                     )
                                                 )


       THIS MATTER is before the Court on Defendant’s Motion to Correct Sentence. In

accordance with the Court’s original intent, this motion is GRANTED. Defendant’s sentence is

reduced from 57 months to 49 months. A new J&C is to be prepared to reflect the new sentence

and that Defendant is receiving credit for time served in the North Carolina State prison system.

       IT IS SO ORDERED.

                                                Signed: January 23, 2007




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